IN THE UNITED STATES DISTRCIT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

  

DEIRDRE L. BOSTICK, | owl Te orreg
Green.
Plaintiff,
PLANTIFF RESPONSE TO
DEFENDANTS MOTION FOR
SUMMARY OF JUDGEMENT

CABARRUS COUNTY DEPT. OF
HEALTH AND HUMAN SERVICES,

Defendant.

 

CASE NO. 1:18CV1042

 

| Deirdre Bostick, Plaintiff am responding to the defendant’s motion for summary of judgement.

On December 9, the court (Loretta C. Biggs United States District Judge) denied Defendants Motion to
Dismiss. Attached is exhibit A

As | explained in my initial motion | did not take what the defendant is calling basic actions regarding
the case because of my health. | was becoming increasingly ill but did not know what was wrong with
me until | had my first seizure.

| could not afford the filing fee . | was not intentionally ignoring the Judge’s order to make the $50
payments, rather | was ill still trying to keep my head above water. As far as still owing the filing fee, |
filed a request for a Request to Proceed In Forma Pauperis (Doc #29) and was granted such on
December 29, 2021. Attached is exhibit B

Defendant states that:
1: Plaintiff filed paperwork late.

| was sent motion to dismiss paperwork with no additional paperwork stating what the procedure was
for rebuttal (response) if | chose that option. | then had to contact the Middle District Court Of North
Carolina and spoke to the clerk who informed me that | should have gotten that additional paperwork
when Cabarrus County sent me the Motion to Dismiss. The clerk sent me the paperwork. | had to wait
for it to arrive via mail fill it out and send it back to the court as well as Cabarrus County attorneys.

2: Defendant states that a reasonable jury could not find that Cabarrus County terminated her or took
other adverse employment action because of a disability.

Plaintiff expressed in several instances prior to this particular incident that she was claustrophobic
when asked to rotate to other areas from time to time. Plaintiff was called into prior supervisors office
(Jennifer Harrison) regarding emails that the supervisor was receiving stating plaintiff was seen too
often in the hallway away from her rotation station. Plaintiff explained again at that time that she

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’ could not sit in the enclosed space that they placed her. Plaintiff to the day takes medication for
anxiety and claustrophobic issues when trying to take her treatment in an enclosed machine. Attached
in Exhibit C.

3: Defendant states Cabarrus County did not fail to offer Plaintiff a reasonable accommodation.

Plaintiff states Cabarrus did not offer reasonable accommodation rather continued to offer enclosed
office space where plaintiff would definitely experience anxiety due to her condition.

STATEMENT OF THE FACTS

Defendant states Plaintiff accumulated several disciplinary warnings. The Defendant also claims
Plaintiff has a history of alleging employment discrimination when disciplined. Some of allegations
made by Cabarrus County regarding Plaintiff were absolutely fabricated. Regarding the Plaintiff
alleging employment discrimination when disciplined that statement is quite the contrary. Cabarrus
County has a tendency of fabricating facts to suit the situation at the time. IE: Plaintiff filed a grievance
against my at the time supervisor Jasmin Gutierrez on 03/25/14 regarding Ms. Gutierrez speaking
about the fact that my grandson receives Medicaid in 2 meeting that included other co-workers. |
stated that was a violation of HIPPA. ! also stated in this grievance that Ms. Gutierrez unjustly wrote
me up. | received from then Program Manager Susan Barbee a response stating Ms. Gutierrez did not
violate HIPPA law acknowledged that she made the statement in front of other and Ms. Barbee could
not find any evidence of creation of a hostile work environment by Ms. Gutierrez. | have attached
response from Susan Barbee Exhibit E

Defendant states that Plaintiff came into the agency on December 14, 2017 | came into the agency and
became upset and disruptive when in fact they asked me to come in on that date for a meeting with
the Director Karen Calhoun. | had my note for return to work with special accommodations from
Juwairiyah Foxx nurse practitioner assigned to the Cabarrus County Employee Health and Wellness
Center which they did not take and starting telling me that | needed other paperwork... This is all after
they placed me in a room closed the door and told me that Msl. Calhoun would be there to meet with
me. She never came and | started to experience anxiety. | have attached the handwritten paperwork
that | submitted in my prior correspondence with the court regarding the series of events that
transpired that day. Cabarrus County further states that | left without permission. if | left without
permission then why did they call the Deputy on me to escort me out. He did not escort or approach
me. | have a clear and concise conversation that ! clearly state to them that | felt they were attempting
to upset me and cause me anxiety so before that occurs, | would leave. They themselves say | was toid
on that day { could not return without the items they|were now adding on. | have attached a
handwritten document that I have submitted to the court previously containing information regarding
that day December 14, 2017. Exhibit F

Plaintiff has submitted character reference letters from former and present employee(s) Exhibit G

Plaintiff has submitted copy of her badge regarding the color of her hair. That is the color at time of
plaintiff's hire. Exhibit H

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Defendant states plaintiff had issues at the front desk with other co-workers complaining. However,
Plaintiff has submitted monthly evaluations Exhibit |, from then Supervisor Natalia Young for
consecutive months starting August 2016 through August 2017. Nowhere in those evaluations does
she state | was bullying front desk workers or other workers. To the contrary afl reviews were praising
the job | did at the front desk inclusive of training and assisting others.

Plaintiff has submitted a letter from McCombs Counseling and Consulting, Inc. regarding the status of
my mental health at the time. Exhibit J

Plaintiff has submitted letter from Juwairiyah Fox nurse practitioner at Cabarrus County Clinic regarding
plaintiffs return to work scheduled for 12/14/17. Exhibit K

CONCLUSION

In summation the evidence i have provided supports my accusations. I am still seeking legal
representation at this time. 1am submitting this paperwork on my own as to meet the deadline set
before me. | have an abundance of emails and text messages to additionally submit going back to 2008
when | was hired. It is too much to send at this time. | am respectfully requesting the court accepts
my response as submitted at least until | can get legal counsel. My Americans with Disabilities Act
rights were violated by moving me from my area to an area where | would experience anxiety: Totally
avoidable and all stemming from a group text message that | did not ask to be included in. |
complained about front desk activity and they (Cabarrus County} punished and removed me although |
made the initial complaint approximately 1 week prior to several upper management individuals. An
email that | have substantiates that ! spoke to my supervisor as well.

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